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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

BRISTOL-MYERS SQUIBB COMPANY

                                                       Civil Action No. 1:19-cv-443
                   Plaintiff,

       v.

L. FRANCIS CISSNA, et al.

                   Defendants.


                                  NOTICE OF DISMISSAL


       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), this action is dismissed,

without prejudice, by the Plaintiff, Bristol-Myers Squibb Company (“BMS”), in its entirety.



                                                    Respectfully submitted,

Dated: April 23, 2019                            MORGAN, LEWIS & BOCKIUS LLP

                                                 By:/s/ Eleanor Pelta
                                                     Eleanor Pelta (DC Bar # 418076)
                                                     eleanor.pelta@morganlewis.com
                                                     Daniel D. Schaeffer (DC Bar # 888208991)
                                                     daniel.schaeffer@morganlewis.com

                                                 1111 Pennsylvania Avenue, NW
                                                 Washington, DC 20004
                                                 Telephone:     +1.202.739.3000
                                                 Facsimile:     +1.202.739.3001

                                                 Attorneys for Plaintiff
